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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
JANET HOYT,
Plaintiff, Case No. 3:19-cv-01408-HES-JBT

V.

ELITE HOSPITALITY IV, LLC,
d/b/a HOLIDAY INN EXPRESS & SUITES

Defendant.
/

ORDER
THIS CAUSE is before the Plaintiff Janet Hoyt’s “Notice of Voluntary Dismissal with
Prejudice” (Dkt. 7). Defendant Elite Hospitality IV, LLC, d/b/a Holiday Inn Express & Suites has
yet to serve either an answer or motion for summary judgment.

Accordingly, it is hereby ORDERED:

1. Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the above-
captioned case is DISMISSED with prejudice, with each party to bear their own
attorneys’ fees, costs and expenses; and

2. The Clerk is directed to terminate all pending motions and close this case.

DONE AND ORDERED at Jacksonville, Florida, this 2A wh day of January, 2020.

   

   

AR Ags
Copies to: ToD {FATES DISTRICT JUDGE
Jason S. Weiss, Esq.
Elite Hospitality IV, LLC
45 Seton Trail

Ormond Beach, FL 32176
